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9
     Attorneys for Defendant
10   GUAN LEI

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13                            UNITED STATES DISTRICT COURT

14                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

15
     UNITED STATES OF AMERICA,                No. CR 20-127-MWF
16
                 Plaintiff,                   DEFENDANT GUAN LEI’S EX PARTE
17                                            APPLICATION TO AMEND THE COURT
                      v.                      ORDER DATED APRIL 26, 2021 RE BAIL
18                                            OF DEFENDANT LEI GUAN
     GUAN LEI,
19
                 Defendant.
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           Defendant Guan Lei, by and through his attorneys of record, Bin
23
     Li, and Harland Braun, applies ex parte for an order to amend the
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     court order dated April 26, 2021 regarding the bail of Defendant Lei
25
     Guan.
26         The ex parte motion is based upon the declaration of Defendant’s
27   Counsel Bin Li.
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2                                 Respectfully submitted,

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4    Dated:    May 2, 2021

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                                  LAW OFFICES OF BIN LI, PLC
6
                                  /s/ Bin Li
7                                 Bin Li, Esq.
                                  Attorney for Defendant
8                                 Guan Lei

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1                             DECLARATION OF BIN LI, ESQ.

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3          I, Bin Li, Counsel for the Defendant, Lei Guan, declare as

4    follows:

5    1.    On March 29, 2021, on behalf of Defendant Lei Guan, Harland

6    Braun and I filed the motion for reconsideration the denial of
     release and imposing detention under 18 U.S.C. 3142€.           In the motion,
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     I offered to pledge my property at 2882 Apricot Ln, Pomona, CA 91776
8
     (“Pomona Property”) as surety for about $500,000.00 as bail bond for
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     Guan’s release.
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     2.    On April 1, 2021, the Government filed its objection.
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     3.    ON April 7, 2021, we filed reply.
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     4.    On April 22, 2021, the court heard the oral arguments from both
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     side of the case.
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     5.    On April 26, 2021, the judge issued an order granting Defense’
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     motion to release Guan on certain conditions including my pledging
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     the Pomona Property as surety.       A true and correct copy of the court
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     order is attached herein as Exhibit “A”.
18   6.    As I advised the parties at the April 22, 2021 hearing, due to
19   the fact that my child was accepted in a school on the westside of
20   LA, and will no longer attending the Foothill Country Day School in
21   the fall, my wife and I had to sell the Pomona Property in order to
22   use the sales proceed to pay for a deposit for a house near her new
23   school for the fall semester.
24   7.    As a result of the change, I would request the court to change

25   the order to replace the Pomona Property with the Counsel Bin Li’s

26   primary resident property at 3009 Payne Ranch Rd, Chino Hills, CA

27   91765 (“Chino Hills Property”).        In terms of equity, this Chino Hill

28   Property has more than Pomona Property ($800k to $1 million equity).
                                       3
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1    8.    I have met and conferred with AUSA George Pence, who has

2    confirmed that the government has no objection to the substitution of

3    the Chino Hills property being offered as surety, and no objection to

4    the restrictions on defendant’s travel based on the location of the

5    Chino Hills property, subject to the government’s review and approval

6    of other necessary surety documentation, including an Affidavit of
     Surety.
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     9.    As a result, Defendant Lei Guan requests the court to replace
8
     the condition #1 and #5 in the April 26, 2021 order replacing the
9
     Pomona Property with the Chino Hill Property.
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           I declare under penalty of perjury under the laws of the United
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     States of America that the foregoing is true and correct and that
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     this declaration is executed at Los Angeles, California, on May 2,
14
     2021.
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           Dated:   May 2, 2021
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18                                LAW OFFICES OF BIN LI, PLC

19                                /s/ Bin Li
                                  Bin Li, Esq.
20                                Attorney for Defendant
                                  Guan Lei
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